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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                        Case No. 8:18-bk-09090-MGW
                                                              Chapter 7
MATTHEW FRANCIS BARTOLOMEO
a/k/a OLGA KALIUZHNA and
OLGA BARTOLOMEO,

            Debtors.
__________________________/


    TRUSTEE'S APPLICATION TO EMPLOY COUNSEL FOR SPECIAL PURPOSE

         COMES NOW Christine Herendeen (“the Applicant”), the duly appointed and acting
Trustee in the above-styled bankruptcy case, and hereby requests the authority to employ counsel
for special purpose for the limited purpose of representing the Applicant in maintaining
adversary proceedings and related matters against certain entities for alleged consumer
protection statutory and common law claims on a modified contingency fee basis and in support
thereof states:
         1.       The Applicant has been appointed Trustee of the above-styled estate, and is duly
qualified and acting.
         2.       The Applicant requires the assistance of counsel for special purpose to enable him
to properly perform his functions as Trustee in maintaining adversary proceedings against certain
entities for alleged consumer protection statutory and common law claims on a contingency fee
basis.
         3.       These issues are of a legal nature and the Trustee requires counsel for special
purpose to assist with the adversary proceedings. These causes of action and any proceeds from
them are property of the bankruptcy estate.
         4.       The Applicant desires to employ counsel for special purpose to assist him in
performing these legal duties necessitated by the administration of the estate. The services of the
proposed attorney, acting as counsel for special purpose, will not duplicate those of the Trustee,
but are necessary in order for the Trustee to carry out his functions and duties. The Applicant
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desires to employ THOMAS A. LASH, ESQ., AND THE LAW FIRM OF LASH WILCOX &
GRACE PL (the “Attorneys”) as counsel for the Trustee. The Attorneys have no interest adverse
to the estate.
        5.       The Applicant believes that the retention of the Attorneys is in the best interest of
the estate.
        6.       Pursuant to the Applicant's agreement with the Attorneys as counsel for special
purpose for the estate, their compensation, subject to this court’s review, approval, and an order
awarding attorneys’ fees, will be on the basis of a modified contingency fee plus costs as
follows:
                 a.     The Attorneys shall recover no attorneys’ fees or costs unless Applicant is
a prevailing party in the adversary proceedings or the adversary proceedings and related matters
result in a settlement that includes a payment to, or other tangible economic benefit for the
bankruptcy estate;
                 b.     The consumer protection statutes under which the Attorneys propose to
bring the adversary proceedings provide for: (i) the payment of Applicant’s attorneys’ fees and
costs by the defendant(s) if Applicant is a prevailing party; (ii) statutory damages; (iii) actual
damages; and (iv) punitive damages;
                 c.     For purposes of 6.b. above, the present hourly rate of partner Thomas A.
Lash is $435.00 per hour, Kenneth C. Grace is $375.00 per hour, and of counsel are presently
billed at hourly rates from $235.00 to $400.00 per hour. Associates are presently billed at hourly
rates from $200.00 to $275.00 per hour and paralegals at the rate of $125.00 per hour;
                 d.     Applicant has agreed to pay the Attorneys’: (i) fees and cost awarded as a

prevailing party in the adversary proceeding or agreed to as part of a settlement under paragraph

6,b,(i) above; and, (ii) thirty percent (30%) of Applicant’s and entities awarded or agreed actual

damages plus other tangible economic benefit to the bankruptcy estate;

                 e.     Applicant and the estate shall retain: (i) all Applicant’s and entities
statutory damages awarded or agreed under paragraph 6,b,(ii) above; and (ii) seventy percent
(70%) of Applicant’s and entities awarded or agreed actual damages plus other tangible
economic benefit to the bankruptcy estate.
        7. The Trustee is relying upon the Debtor(s) Schedule C claims of exemption in reaching
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this conclusion and incurring administrative expenses of counsel.


       WHEREFORE, the Applicant requests the entry of an order authorizing him to employ
and retain the Attorneys as counsel for special purpose for the estate on the terms and conditions
specified hereinabove with no fees or cost paid to such counsel for special purpose without
further Order of this Court.


Dated: This 12th day of April 2018                          Respectfully submitted,
                                                            /s/ Christine L. Herendeen____
                                                            Christine L. Herendeen
                                                            PO Box 152348
                                                            Tampa, FL 33684



                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of this pleadings has been sent by
regular U.S. Mail or e-mail to the following: Asst. U.S. Trustee, 501 E. Polk St., Ste. 1200,
Tampa, FL 33602; Samantha L. Dammer, 620 East Twiggs, Ste 110, Tampa, FL 33602;
Matthew and Olga Bartolomeo, 3854 Lake Saint George Dr., Palm Harbor, FL 34684 and
Thomas A. Lash, Esq., and the Firm of Lash Wilcox & Grace PL, 4950 W. Kennedy Blvd., Suite
320, Tampa, FL 33609 this 12th day of April, 2018.


                                                     /s/ Christine L. Herendeen____
                                                     Christine L. Herendeen
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